Case 1:19-cv-25148-JEM Document 153 Entered on FLSD Docket 08/02/2021 Page 1 of 3




                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                  Case Number: 19-25148-CIV-MARTINEZ/OTAZO-REYES

  BENZO RUDNIKAS,

         Plaintiff,

  vs.

  NOVA SOUTHEASTERN UNIVERSITY,
  INC.,
        Defendant.
  _____________________________________/

                       ORDER ON DEFENDANT’S MOTION IN LIMINE

         THIS CAUSE comes before the Court upon Defendant’s Omnibus Motion in Limine

  (“Motion”). (ECF No. 97). The Court held a hearing on the matter on July 30, 2021. After careful

  consideration of the Motion, Plaintiff’s Response, (ECF No. 106), Defendant’s Reply, (ECF No.

  108), the parties’ arguments in open court, and the pertinent portions of the record, the Court finds

  that the Motion is GRANTED in part and DENIED in part.

         Defendant’s Motion is threefold. First, Defendant seeks to exclude evidence regarding past

  claims against Defendant for failure to accommodate students, including but not limited to,

  “complaints, depositions, transcripts, affidavits, and other various filings in other cases involving

  NSU that were brought by other employees or students, . . . dating back 20-plus years[.]” (ECF

  No. 152, at 5:21–25). Plaintiff does not point to a specific reason why he seeks to introduce this

  evidence, other than attempting to prove Defendant’s violation of the ADA as to Plaintiff based

  on Defendant’s past conduct towards other students and employees. The Court thus agrees that

  evidence of Defendant’s past failure to accommodate other students or employees is not relevant

  to the claims brought in this action and is inadmissible.



                                                   1
Case 1:19-cv-25148-JEM Document 153 Entered on FLSD Docket 08/02/2021 Page 2 of 3




         Second, Defendant moves to preclude Plaintiff from introducing into evidence any

  documents responsive to Defendant’s document requests but not produced to date. In particular,

  the parties acknowledge that several communications exist which are responsive to the requests

  but have not yet been produced. The record reflects Plaintiff’s continuous failure to comply with

  this Court’s orders by failing to produce documents responsive to Defendant’s discovery requests.

  Accordingly, Plaintiff is precluded from introducing into evidence at trial any documents that are

  responsive to Defendant’s requests for production but were not produced as of February 19, 2021

  pursuant to Judge Otazo-Reyes’s Order on Status Conference, (ECF No. 99).

         Finally, Defendant seeks to limit evidence of damages to lost tuition pursuant to the Student

  Enrollment Agreement (“Agreement”) executed by Plaintiff when he enrolled in classes. The

  Agreement contains a “Disclaimer/Release of Liability” provision that states as follows:

         I understand that by enrolling at NSU, I am not guaranteed a degree. I agree that
         should I be dismissed for any reason, NSU’s liability for any such dismissal would be
         limited to present damages consisting of lost tuition and any costs associated with
         attendance at NSU. In no event, shall NSU’s liability exceed the total amount of fees
         paid to NSU, nor shall NSU be liable for incidental or consequential damages of any
         kind. I specifically understand and agree that I will not be entitled to seek future
         damages for losses incurred as a result of the failure to obtain a degree.

  (ECF No. 97-2, at 9 (emphasis in original)).

         Defendant contends that the above provision limits Plaintiff’s damages to lost tuition and

  any costs associated with attendance at NSU, and to no more than the total amount of fees paid to

  NSU. However, as Defendant itself states, this is a claim for discrimination against Plaintiff for

  “(1) failing to grant him extended time for assignments, and (2) failing to provide him his approved

  accommodation of double-time for his first final exam in the fall 2019 semester – Contracts[.]”

  (ECF No. 97, at 5). This action does not involve Plaintiff’s dismissal or failure to obtain a degree

  from NSU. Defendant argues that the third sentence in the Disclaimer/Release of Liability




                                                   2
Case 1:19-cv-25148-JEM Document 153 Entered on FLSD Docket 08/02/2021 Page 3 of 3




  provision applies to all actions brought against NSU by its students, regardless of whether any

  dismissal occurred. The Court is unconvinced. Read as a whole, the provision relates to claims

  brought against NSU for dismissal or failure to obtain a degree and is thus not applicable to the

  claims at issue in this case. Therefore, Defendant’s request is denied as to this issue.

         For the foregoing reasons, it is ORDERED AND ADJUDGED that:

         1.      Defendant’s Motion, (ECF No. 97), is GRANTED in part and DENIED in part.

         2.      Plaintiff is precluded from introducing evidence of Defendant’s past failure to

  accommodate other students or employees, including but not limited to, filings in other cases

  against Defendant. The Court will reconsider these issues upon Plaintiff’s request at trial, if any.

  However, prior to addressing these issues, counsel SHALL seek permission of this Court to do so

  in a sidebar conference or outside of the presence of the jury. The Court ADVISES counsel to

  tread lightly around these issues and to exercise an abundance of caution. Failure to comply with

  this Court’s order SHALL result in appropriate sanctions for failure to obey this Court’s orders.

         3.      Plaintiff is precluded from introducing any documents that were responsive to

  Defendant’s requests for production but were not produced as of February 19, 2021.

         4.      Plaintiff may attempt to introduce evidence related to damages other than those

  delineated in the Agreement.

         DONE and ORDERED in Chambers at Miami, Florida this 2nd day of August, 2021.



                                                        ________________________________
                                                        JOSE E. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All counsel of record




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